     Case 2:11-cr-00181-WFN    ECF No. 498   filed 08/14/12   PageID.1158 Page 1 of 1




 1
 2
 3
 4
 5
                               UNITED STATES DISTRICT COURT
 6                            EASTERN DISTRICT OF WASHINGTON
 7
       UNITED STATES OF AMERICA,                )
 8                                              )     CR-11-181-WFN-09
                        Plaintiff,              )
 9                                              )
       v.                                       )     ORDER DENYING MOTION FOR
10                                              )     REVISED CONDITIONS
       MICHAEL L. WILSON,                       )     (ECF No. 496)
11                                              )
                        Defendant.              )
12                                              )

13          Defendant requests that his conditions of release be revised to

14    eliminate electronic monitoring (ECF No. 496). Pretrial Services

15    advises, however, that defendant still has at least six more months

16    of chemical dependency treatment.          Pretrial Services notes that Mr.

17    Wilson has been compliant with his conditions of release but that it

18    would be difficult to monitor defendant’s curfew if electronic

19    monitoring were eliminated. Accordingly, the request is DENIED

20    without prejudice.

21          IT IS SO ORDERED.

22          DATED:   August 14, 2012

23
24                                  S/ CYNTHIA IMBROGNO
                              UNITED STATES MAGISTRATE JUDGE
25
26
27
28


     ORDER - 1
